Information to identify the case:
Debtor 1              Jeremy Andrew Bray                                         Social Security number or ITIN     xxx−xx−8166
                      First Name   Middle Name    Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                         Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                 EIN    _ _−_ _ _ _ _ _ _
UNITED STATES BANKRUPTCY COURT                          NORTHERN DISTRICT OF
ALABAMA, NORTHERN DIVISION                                                       Date case filed for chapter 12 10/2/18
Case number:          18−82940−CRJ12


Official Form 309G (For Individuals or Joint Debtors)
Notice of Chapter 12 Bankruptcy Case                                                                                            12/17

For the debtors listed above, a case has been filed under chapter 12 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors, from the debtors' property, or from certain codebtors. For example, while the stay is
in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the
debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be
required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 12 plan may result in a discharge of debt. Creditors who want to have a particular debt excepted from
discharge may be required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line
13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                         About Debtor 1:                                 About Debtor 2:
1. Debtor's full name                    Jeremy Andrew Bray
2. All other names used in the
   last 8 years
3. Address                               8080 County Road 52
                                         Spruce Pine, AL 35585
4. Debtor's attorney                     Tazewell Taylor Shepard IV                      Contact phone 256−512−9924
   Name and address                      Sparkman, Shepard & Morris, P.C.
                                         P.O. Box 19045                                  Email: ty@ssmattorneys.com
                                         Huntsville, AL 35804
5. Bankruptcy trustee                    Michele T. Hatcher                              Contact phone 256−350−0442
   Name and address                      Chapter 13 Trustee
                                         P.O. Box 2388
                                         Decatur, AL 35602
6. Bankruptcy clerk's office         400 Well Street                                     Hours open:
   Documents in this case may P. O. Box 2775                                             8:00 a.m. − 4:00 p.m. Monday−Friday
   be filed at this address.         Decatur, AL 35602
   You may inspect all records                                                           Contact phone 256−584−7900
   filed in this case at this office
   or online at www.pacer.gov.                                                           Date: 10/3/18
                                                                                         For more information, see page 2 >




Official Form 309G (For Individuals or Joint Debtors)         Notice of Chapter 12 Bankruptcy Case                           page 1


      Case 18-82940-CRJ12                        Doc 10 Filed 10/03/18 Entered 10/03/18 14:13:01                    Desc Ch
                                                     12 First Mtg I/J Page 1 of 2
Debtor Jeremy Andrew Bray                                                                         Case number 18−82940−CRJ12

7. Meeting of creditors            October 25, 2018 at 02:30 PM                         Location:
   Debtors must attend the                                                              Federal Building, Cain St Entrance, 3rd
   meeting to be questioned        The meeting may be continued or adjourned to a       Floor Courtroom, Decatur, AL 35601
   under oath. In a joint case,    later date. If so, the date will be on the court
   both spouses must attend.       docket.
   Creditors may attend, but are
   not required to do so.
8. Deadlines                       Deadline to file a complaint to challenge             Filing deadline: 12/26/18
   The bankruptcy clerk's office   dischargeability of certain debts:
   must receive these
   documents and any required      You must start a judicial proceeding by filing a
   filing fee by the following     complaint if you want to have a debt excepted
   deadlines.                      from discharge under 11 U.S.C. § 523(a)(2), (4),
                                   or (6).



                                   Deadline for all creditors to file a proof of claim Filing deadline: 12/11/18
                                   (except governmental units):
                                   Deadline for governmental units to file a proof Filing deadline: 4/1/19
                                   of claim:
                                   Deadlines for filing proof of claim:
                                    A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                   may be obtained at www.uscourts.gov or any bankruptcy clerk's office.
                                   If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be
                                   paid, you must file a proof of claim even if your claim is listed in the schedules that the debtor
                                   filed.
                                   Claims can be filed electronically through the court's website at:
                                   www.alnb.uscourts.gov/electronic−proof−claim.
                                   Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                   claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                   with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                   of claim may surrender important nonmonetary rights, including the right to a jury trial.

                                   Deadline to object to exemptions:                     Filing Deadline:       30 days after the
                                   The law permits debtors to keep certain property                             conclusion of the
                                   as exempt. If you believe that the law does not                              meeting of
                                   authorize an exemption claimed, you may file an                              creditors
                                   objection.
9. Filing of plan                  The debtor has not filed a plan as of this date. A copy of the plan and a notice of the hearing
                                   on confirmation will be sent separately.
10. Creditors with a foreign       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                        asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                   United States bankruptcy law if you have any questions about your rights in this case.
11. Filing a Chapter 12            Chapter 12 allows family farmers and family fishermen to reorganize according to a plan. A
    bankruptcy case                plan is not effective unless the court confirms it. You may receive a copy of the plan. You
                                   may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                   remain in possession of the property and may continue to operate the business unless the
                                   court orders otherwise.
12. Discharge of debts             Confirmation of a chapter 12 plan may result in a discharge of debts, which may include all
                                   or part of your debt. Unless the court orders otherwise, the discharge will not be effective
                                   until all payments under the plan are made. A discharge means that you may never try to
                                   collect the debt from the debtor except as provided in the plan. If you want to have a
                                   particular debt excepted under 11 U.S.C. § 523(a)(2), (4), or (6), you must start a judicial
                                   proceeding by filing a complaint and paying the filing fee in the clerk's office by the deadline.
13. Exempt property                The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                   sold and distributed to creditors, even if the case is converted to chapter 7. Debtors must file
                                   a list of property claimed as exempt. You may inspect that list at the bankruptcy clerk's office.
                                   If you believe that the law does not authorize an exemption that the debtors claim, you may
                                   file an objection. The bankruptcy clerk's office must receive the objection by the deadline to
                                   object to exemptions in line 8.




Official Form 309G (For Individuals or Joint Debtors)     Notice of Chapter 12 Bankruptcy Case                             page 2


     Case 18-82940-CRJ12               Doc 10 Filed 10/03/18 Entered 10/03/18 14:13:01                             Desc Ch
                                           12 First Mtg I/J Page 2 of 2
